Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 1 of 50

EXHIBIT A
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 2 of 50

Soil See GBRIGINAL
UNITED STATES DISTRICT COURT

for the

MICHELLE GERMANO; DENNIS JACKSON;

SHARON JACKSON; JASON DUNAWAY; Eastern District of Virginia

LISA DUNAWAY; individually, and on behalf Norfolk Division
of all others similarly situated, . )
Plaintiffs,
Vv.

)
) Civil Action No. 2:09-cv-202

TAINSHAN GYPSUM CO., LTD. f/k/a SHANDONG ) (Amended Comp1 ai nt)
TAIHE DONGXIN CO. LTD.; TOBIN TRADING, INC.; )

VENTURE SUPPLY, INC.; HARBOR WALK

DEVELOPMENT, LLC; and THE PORTER-BLAINE

CORP., Summons in a Civil Action

Defendants.

To: (Defendant's name and address)

Taishan Gypsum Co., Ltd.

f/kla Shandong Taihe Dongxin Co., Ltd.
Dawenkou, Taian

Shandong, China 271026

A lawsuit has been filed against you.

Within 29 jays after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint ora motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attorney, whose name and address are:

Richard J. Serpe, Esquire
Law Offices of Richard J. Serpe, P.C.

580 E. Main Street, Suite 310
Norfolk, VA 23510

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also

must file your answer or motion with the court.

Fernando Galindo
Name of clerk of court

Date: _ 6/12/09 ax (ised oe Ke

L. Woodcock Deputy clerk’s signature

(Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule 12(a)(3).)
_ Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 3 of 50

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

NOTICE
CONSENT TO TRIAL BY MAGISTRATE JUDGE

Pursuant to Federal Rule of Civil Procedure 73 and 28 U.S.C. § 636(c) you may request to have
your case conducted before a United States Magistrate Judge upon consent of all parties and
approval by.a United States District Judge. In order to proceed before a Magistrate Judge, a
consent form must be filed with the Clerk's Office. It may be filed jointly or separately. The
corisent form may be printed from the US. District Court website (listed below) or obtained
from the-Clerk's Office. Please refer to the previously mentioned rule for further information.

FINANCIAL INTEREST DISCLOSURE STATEMENT

Pursuant to Local Rule 7.1, a financial disclosure statement must be filed by-a
“nongovernmental corporation, partnership, trust, [or] other similar entity that is a party to, or
that appears in, an action or proceeding in this Court’ This statement should be filed in
duplicate with the party's “first appearance, pleading, petition, motion, response, or other request
addressed to the Court”. The financial interest disclosure statement may be printed from the
US. District Court website (listed below) or obtained from the Clerk's Office. Please refer to
the previously mentioned rule for further information. Failure.to file the financial interest
disclosure statement as required by Local Rule 7.1 will result in this first submission being filed
subject to defect by the Clerk.

WEBSITE. AND CLERK'S OFFICES ADDRESSES
The website address for the U.S. District Court for the Eastern District of Virginia is

www. vaed.uscourts: gov. If you do not have access to a computer, contact one of the Clerk's
Offices listed below to obtain either of these forms:

Albert V. Bryan United States Courthouse Walter E. Hoffman United States Courthouse
401 Courthouse Square 600 Granby Street

Alexandria, VA 22314 Norfolk, VA 23510

(703) 299-2101 (757) 222-7201

Spottswood W. Robinson IIT and United States Courthouse

Robert R. Merhige, Jr., Federal Courthouse 2400 West Avenue

701 East Broad Street Newport News, VA 23607

Richmond, VA 23219 (757) 247-0784

(804) 916-2220
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 4 of 50

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
600 GRANBY STREET
NORFOLK, VIRGINIA 23510-1918

CMAMBERS OF

MARKS, DAVIS
UNITED. STATES DISTRICT JUDGE

PROCEDURE FOR CIVIL MOTIONS

This case has been assigned to United States District Judge Mark S. Davis.

Pursuant.to Local Rule 7, a brief’ shall aecompany all motions (unless excepted by the
rule). Courtesy copies of briefs are not required unless. the filing, including exhibits, exceeds
fifty (50) pages.

After all briefs are in, it is incumbent.upon counsel forthe moving party to confer with
opposing counsel and advise the Clerk’s Office by “Notice” When 4.ruling or détermination
based upon the briefs alone (without.oral argument) is desired.. See Local Rule 26 for discovery
motion procedures, Unless otherwise dirécted by the District Judge, all discovery issues shall be
directed-to:the Magistrate Judge assigned to the civil action,

Requests. for oral argument.should be communicated to the Clerk’s Office by “Notice”
requesting oral argument. If Judge Davis determines he'will allow oral argument, counsel will be
notified by the Judge’s courtroom deputy or his judicial assistant and a date.and time will be
‘selected,

Absent a request for hearing, the motions will be referred automatically to Judge Davis.
« Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 5 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 1 of 19

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

MICHELLE GERMANO; DENNIS JACKSON;
SHARON JACKSON; JASON DUNAWAY;
LISA DOUNAWAY; individually, and on behalf of
all others similarly situated,

Plaintiffs,

V. . Civil Action No, 2:09-cv-202

TAISHAN GYPSUM CO. LTD. f/k/a
SHANDONG TAIHE DONGXIN CO. LTD.;
TOBIN TRADING INC,; VENTURE SUPPLY
INC.; HARBOR WALK DEVELOPMENT, LLC;
and THE PORTER-BLAINE CORP.,

Defendants.
/

FIRST AMENDED COMPLAINT--CLASS ACTION

Pursuant to Fed. R. Civ. P. 23, Plaintiffs brings this class action on behalf of themselves
and all other similarly situated owners and residents of residential homes in the Commonwealth
of Virginia containing defective drywall that was designed, manufactured, exported, imported,
distributed, delivered, supplied, inspected, marketed, sold and/or installed by Defendants Taishan
Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin, Co. Ltd. (“Taishan”), Tobin Trading Inc.
(“Tobin”) and/or Venture Supply Inc. (“Venture”). Plaintiffs also bring this action on behalf of a
subclass of similarly situated owners and residents of residential homes in the Commonwealth of
Virginia containing defective drywall that were built and/or had drywall installed by developer
Harbor Walk Development, LLC (“Harbor Walk”) and/or The Porter-Blaine Corp. (“Porter-

Blaine”). In support thereof, Plaintiffs states as follows:

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 6 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 2 of 19

JURISDICTION, PARTIES, AND VENUE

1, This action is within the original jurisdiction of this Court by virtue of 28 U.S.C.
§1332(d)(2) and the Class Action Faimess Act. Plaintiffs and certain Defendants are citizens of
different states and the amount in controversy of this Class action exceeds five million dollars
($5,000,000.00), exclusive of interest and costs.

2. Venue in this district satisfies the requirements of 28 U.S.C. §1391(b)(1)-(2)
because some Plaintiffs reside in this jurisdiction, some Defendant resides in this jurisdiction,
and a substantial amount of the events and occurrences giving rise to the claim occurred in this
District, or a substantial part of the property that is the subject of this action is situated in this
district.

PLAINTIFFS

3. Plaintiff Michelle Germano is a resident of Virginia and owns a home located at
8171 North View Blvd., Norfolk, Virginia, 23518.

4, Upon information and belief, Ms, Germano’s home was built and/or had drywall
installed by Defendants Harbor Walk and/or Porter-Blaine and it contains defective drywall that
was designed, manufactured, exported, imported, distributed, delivered, supplied, inspected,
marketed, and/or sold by Defendants Taishan, Tobin and/orVenture.

5. Plaintiffs Dennis and Sharon Jackson (husband and wife) are residents of Virginia
and own a home located at 8151 North View Blvd., Norfolk, Virginia, 23518.

6. Upon information and belief, the Jackson’s home was built and/or had drywall
installed by Defendants Harbor Walk and/or Porter-Blaine and it contains defective drywall that
was designed, manufactured, exported, imported, distributed, delivered, supplied, inspected,

marketed, and/or sold by Defendants Taishan, Tobin and/or Venture.

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 7 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 3 of 19

7. Plaintiffs Jason and Lisa Dunaway (husband and wife) are residents of Virginia
and own a home located at 27037 Flaggy Run Rd., Courtland, Virginia, 23837.

8. Upon information and belief, the Dunaways built their own home and it contains
defective drywall that was designed, manufactured, exported, imported, distributed, delivered,
supplied, inspected, marketed, and/or sold by Defendants Taishan, Tobin and/or Venture.

DEFENDANTS

9. Defendant Taishan is a Chinese corporation doing business in the Commonwealth
of Virginia with its principal place of business located at Dawenkou, Daiyue District, Tai’an
City, Shandong Province, China, 271026.

10. Defendant Taishan designed, manufactured, exported, distributed, delivered,
supplied, inspected, marketed, and/or sold defective drywall at issue in this case.

11. Upon information and belief, Taishan is controlled by the Beijing New Building

Materials Public Limited Co., which is a state-owned entity and respectively controlled by the

Chinese government,

12. To the extent Taishan is deemed a foreign sovereign entity, Plaintiffs bring claims
against Taishan pursuant to 28 U.S.C. § 1605(a)(2), the commercial activity exception to the
Foreign Sovereign Immunities Act, or alternatively under § 1605(a)(5), the tortious act
exception. Plaintiffs allege that the claim is based upon Taishan’s commercial activities carried
on in the United States. The claim also seeks monetary damages against a foreign state for
damage to property occurring in the United States, caused by the tortious acts or omissions of
that foreign state, or of any official or employee of that foreign state while acting within the

scope of his office or employment.

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 8 of 50

Case 2:09-cv-00202-MSD-TEM Document 3. Filed 05/26/2009 Page 4 of 19

13. Defendant Tobin is a Virginia corporation with its principal place of business
located at 5008 Gatehouse Way, Virginia Beach, Virginia, 23455.

14, Defendant Tobin imported, distributed, delivered, supplied, inspected, marketed
and/or sold defective drywall at issue in this case.

15. Defendant Venture is a Virginia corporation with its principal place of business
located at 1140 Azalea Garden Road, Norfolk, Virginia, 23502.

16. Venture imported, distributed, delivered, supplied, inspected, marketed, and/or
sold defective drywall to builders that was supplied to and damaged homeowners including
Plaintiffs and Class Members. Venture also imported, distributed, delivered, supplied, inspected,
marketed, and/or sold defective drywall directly to some Plaintiffs and Class Members

17. Defendant Harbor Walk is a Virginia corporation and is located at 804 Oakmears
Crescent, Suite 101, Virginia Beach, Virginia, 23462.

18. Harbor Walk built some Plaintiffs’ and Class Members’ homes and, directly or
through agents, installed defective drywall in those homes, which has resulted in harm and
damages to Plaintiffs and Subclass Members as described herein.

19. Defendant Porter-Blaine is a Virginia corporation and is located at 1140 Azalea
Garden Rd, Norfolk, Virginia, 23502.

20.  Porter-Blaine, which shares an address with Venture, is one of Venture’s drywall
installation contractors. Upon information and belief, Porter-Blaine installed defective drywall
in the Harbor Walk homes, and in other homes, which has resulted in harm and damages to
Plaintiffs and Subclass Members as described herein.

21.  Atall times herein mentioned, each of the Defendants was acting in concert with

one another and was the agent, servant, partner, aider and abettor, co-conspirator and/or joint

, Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 9 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 5of 19

venturer of each of the other Defendants herein and was at all times operating and acting within

the purpose and scope of said agency, service, employment, partnership, conspiracy and/or joint

venture and rendered substantial assistance and encouragement to the other Defendants, knowing

that their collective conduct constituted a breach of duty owed to Plaintiffs and Class Members.
GENERAL ALLEGATIONS

22. Upon information and belief, Defendants’ drywall contains gypsum.

23. In “defective drywall” (such as that designed, manufactured, exported, imported,
distributed, delivered, supplied, inspected, marketed, sold and/or installed by Defendants herein),
the gypsum and other components of the product break down and release sulfides and other
noxious gases that are then emitted (or “off-gassed”) from the drywall.

24,  Sulfides and other noxious gases, such as those emitted from Defendants’
drywall, cause corrosion and damage to personal property (such as air conditioning and
refrigerator coils, faucets, utensils, electrical wiring, copper, electronic appliances and other
metal surfaces and property).

25. Exposure to sulfide and other noxious gases, such as those emitted from
Defendants’ drywall, causes personal injury resulting in eye irritation, sore throat and cough,
nausea, fatigue, shortness of breath, fluid in the lungs, and/or neurological harm.

26.  Asadirect and proximate result of Defendants’ actions and omissions, Plaintiffs
and the Class Members’ homes, personal property, and bodies have been exposed to Defendants’
defective and unfit drywall and the corrosive and harmful effects of the sulfide and other noxious
gases being released from Defendants’ defective drywall.

27. Defendants tortiously manufactured, exported, imported, distributed, delivered,

supplied, inspected, installed, marketed, sold and/or installed defective drywall, which was unfit

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 10 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 6 of 19

for its intended purpose and unreasonably dangerous in its normal use in that the drywall caused
corrosion and damage to personal property in Plaintiffs’ and Class Members’ homes and/or
caused personal injury resulting in eye irritation, a sore throat and cough, nausea, fatigue,
shortness of breath, fluid in the lungs, and/or neurological harm.

28.  Asadirect and proximate result of Defendants’ defective and unfit drywall and
the corrosive and harmful effects of the sulfide and other noxious gases being released from
these products, Plaintiffs and Class Members have suffered, and continue to suffer economic
harm and/or personal injury.

29. Asa direct and proximate result of Defendants’ defective and unfit drywall and
the corrosive and harmful effects of the sulfide and other noxious gases being released from
these products, the Plaintiffs and the Class Members have suffered, and continue to suffer
damages. These damages include, but are not limited to, costs of inspection; costs and expenses
necessary to remedy, replace and remove the defective drywall and other property that has been
impacted; lost value or devaluation of their homes and property; loss of use and enjoyment of
their home and property; and/or damages associated with personal injuries.

30. Asa direct and proximate result of Defendants’ defective and unfit drywall and
the corrosive and harmful effects of the sulfide and other noxious gases being released from
these products, Plaintiffs have been exposed to above-background levels of toxic gases and
suffered personal injury, have been placed at an increased risk of disease, and have need for
injunctive relief in the form of repair of their homes or rescission of their home contracts,

emergency/corrective notice, environmental testing and monitoring, and/or medical monitoring.

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 11 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 7 of 19

CLASS ACTION ALLEGATIONS

31. Plaintiffs bring this suit as a class action pursuant to Rules 23(a), (b)(1), (b)(2),

(b)(3) and/or 23(c)(4) of the Federal Rules of Civil Procedure, on behalf of themselves and the
following Class and Subclass comprised of:

Class Definition:

All owners and residents of residential homes in the

Commonwealth of Virginia containing defective drywall

manufactured, sold, distributed, and/or supplied by Taishan

Gypsum Co. Ltd., Tobin Trading Inc. and/or Venture Supply Inc.

Harbor Walk/Porter-Blaine Subclass Definition:

All owners and residents of residential homes in the

Commonwealth of Virginia containing defective drywall built
and/or installed by Harbor Walk Development LLC and/or Porter-

Blaine Corp.

32. The following Persons shall be excluded from the Class: (1) Defendants and their
subsidiaries, affiliates, officers and employees; (2) all Persons who make a timely election to be
excluded from the proposed Class; (3) governmental entities; and (4) the judge(s) to whom this
case is assigned and any immediate family members thereof.

33. Upon information and belief, the Defendants’ defective and unfit drywall was
installed in at least hundreds of homes in the Commonwealth of Virginia. Therefore, the Class is
sufficiently numerous such that the joinder of all members of the Class in a single action is
impracticable.

34, There are numerous common questions of law and fact that predominate over any
questions affecting only individual members of the Class. Among these common questions of

law and fact are the following:

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 12 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 8 of 19

a. whether Defendants’ drywall products that release sulfide and other
noxious gases are defective and/or unfit for their intended purpose;

b. whether Defendants tortiously manufactured, exported, imported,
distributed, delivered, supplied, inspected, marketed, sold, and/or installed
defective drywall products;

C, whether Plaintiffs and Class Members are entitled to recover
compensatory, exemplary, incidental, consequential, and/or other damages
as a result of Defendants’ unlawful and tortious conduct; and

d. whether Plaintiffs and Class Members are entitled to recover injunctive
and/or equitable relief as a result of Defendants’ unlawful and tortious
conduct.

35. The legal claims of Plaintiffs are typical of the legal claims of other Class
Members. Plaintiffs have the same legal interests and need for legal remedies as other Class
Members,

36. The Plaintiffs and each member of the Class have defective and unfit drywall in
their homes. Due to the drywall in Plaintiffs and Class Members’ homes, Plaintiffs and Class
Members suffered damages and the need for injunctive and equitable relief, as set forth herein.

37. Plaintiffs are adequate representatives of the Class and, together with their legal
counsel, will fairly and adequately protect the interests of the Class. Plaintiffs have no conflicts
with the Class and are committed to the vigorous prosecution of this action.

38. The undersigned counsel are competent counsel experienced in class action
litigation, mass torts, and litigation involving defective and harmful products. Counsel will fairly

and adequately protect the interests of the class.

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 13 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 9 of 19

39. The various claims asserted in this action are certifiable under the provisions of
‘Federal Rules of Civil Procedure 23(b)(1) because prosecuting separate actions by or against
individual class members would create a risk of inconsistent or varying adjudications with
respect to individual class members that would establish incompatible standards of conduct for
the party opposing the class; or adjudications with respect to individual class members that, as a
practical matter, would be dispositive of the interests of the other members not parties to the
individual adjudications or would substantially impair or impede their ability to protect their
interests.

40.  Theclaims for injunctive relief in this case are certifiable under Fed. R. Civ. P.
23(b)(2). Defendants have acted or refused to act on grounds that apply generally to the class, so
that final injunctive relief is appropriate respecting the class as a whole.

41. A class action is superior to other methods of dispute resolution in this case. The
Class members have an interest in class adjudication rather than individual adjudication because
of their overlapping rights. It is highly desirable to concentrate the resolution of these claims in
this single forum because it would be difficult and highly unlikely that the affected Class
members would protect their rights on their own without this class action case. Management of
the class will be efficient and far superior to the management of individual lawsuits.

42. The issues common to the class members’ claims, some of which are identified
above, are alternatively certifiable pursuant to Fed. R. Civ. P. 23(c)(4) as resolution of these
issues would materially advance the litigation, and class resolution of these issues is superior to

repeated litigation of these issues in separate trials,

Case 2:09-ma- -
09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 14 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 ~«~Filed 05/26/2009 Page 10 of 19

COUNT I
NEGLIGENCE
(Against All Defendants)

43. Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

44. Defendants owed a duty to Plaintiffs and Class Members to exercise reasonable
care in a) designing, b) manufacturing, c) exporting, d) importing, €) distributing, f) delivering,
g) supplying, h) inspecting, 1) marketing, j) selling, and/or k) installing this drywall, including a
duty to adequately warn of their failure to do the same.

45, Defendants knew or should have known that their wrongful acts and omissions
would result in harm and damages in the manner set forth herein.

46. Defendants breached their duty to exercise reasonable care in the designing,
manufacturing, exporting, importing, distributing, delivering, supplying, inspecting, marketing,
selling, and/or installing this drywall.

47. Defendants likewise breached their duties to Plaintiffs and Class Members by
failing to warn about the defective nature of the drywall. Defendants, through the exercise of
reasonable care, knew or should have known the nature of the defective drywall and the adverse
effects that it could have on the homes and bodies of Plaintiffs and Class Members.

48. Given the defect in the Defendants’ drywall, Defendants knew or should have
known that their product could, and would, cause harm, damages and/or personal injuries to
Plaintiffs and Class Members.

49.  Asadirect and proximate cause of Defendants’ acts and omissions, Plaintiffs and

Class Members were harmed and have incurred damages and/or personal injuries as described

herein.

10

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 15 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 11 of 19

COUNT I
NEGLIGENCE PER SE
(Against All Defendants)

50. Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

51. Defendants owed statutory duties to Plaintiffs and Class Members to exercise
reasonable care in a) designing, b) manufacturing, c) exporting, d) importing, e) distributing, f)
delivering, g) supplying, h) inspecting, i) marketing, j) selling, and/or k) installing this drywall.

52. Defendants breached their statutory duties to the Plaintiffs and Class Members by
failing to exercise reasonable care in a) designing, b) manufacturing, c) exporting, d) importing,
¢) distributing, f) delivering, g) supplying, h) inspecting, i) marketing, j) selling, and/or k)
installing this drywall.

53. Defendants likewise breached their statutory duties to Plaintiffs and Class
Members by failing to warn about the defective nature of the drywall. Defendants, through the
exercise of reasonable care, knew or should have known the nature of the defective drywall and
the adverse effects that it could have on the homes and bodies of Plaintiffs and Class Members.

54, _ Given the defect in the Defendants’ drywall, Defendants knew or should have

known that their product could, and would, cause harm, damages and/or personal injuries to

Plaintiffs and Class Members.

55. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiffs and
Class Members were harmed and have incurred damages and/or personal injuries as described

herein.

COUNT Ill
BREACH OF EXPRESS AND/OR IMPLIED WARRANTIES
(All Defendants)

56. Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

11

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 16 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 12 of 19

57. Defendants and/or their agents were in privity with Plaintiffs and Class Members
and/or Plaintiffs and Class Members were foreseeable third party beneficiaries of any warranty.

58. At the times Defendants installed, utilized, supplied, inspected, sold, and/or
installed this drywall for use in the Plaintiffs’ and Class Members’ homes, Defendants knew, or
it was reasonably foreseeable, that the drywall would be installed in the Plaintiffs’ and Class
Members’ homes for use as a building material, and expressly or impliedly warranted the
product to be fit for that use.

59. Defendants placed their drywall products into the stream of commerce in a
defective condition and these products were expected to, and did, reach users, handlers, and
persons coming into contact with said products without substantial change in the condition in
which they were sold.

60. The drywall was defective because it was not fit for the uses intended or
reasonably foreseeable by Defendants; to wit, the installation of the drywall in Plaintiffs’ and
Class Members’ homes for use as a building material, because it contained defects as set forth
herein.

61. The Defendants breached their warranty because the drywall was not fit and safe
for the particular purposes for which the goods were required (to be installed in Plaintiffs and
Class Members’ homes as a building material) due to the defects set forth herein.

62. Defendants had reasonable and adequate notice of the Plaintiffs’ and the Class
Members’ claims for breach of warranty and failed to cure.

63. | Asa direct and proximate cause of Defendants’ breach of warranties, Plaintiffs

and Class Members have incurred harm and damages and/or personal injuries as described

herein.

12

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 17 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 13 of 19

COUNT IV
BREACH OF CONTRACT
(Against Defendant Harbor Walk Only)

64. Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

65. As part of the agreement to purchase the home built by Harbor Walk, for which
Plaintiffs and Subclass Members paid valuable consideration, Harbor Walk promised Plaintiffs
and Subclass Members that their homes would be free of defects.

66. Harbor Walk materially breached its contracts by providing Plaintiffs and
Subclass Members homes that were not free of defects; to wit, the homes contained drywall that
is inherently defective because it emits various sulfide and other noxious gases through “off-
gassing” that causes harm and damage as described herein.

67.  Asadirect and proximate cause of Defendant’s breach of contract, Plaintiffs and
Class Members have incurred harm and damages as described herein.

COUNT V
PRIVATE NUISANCE
(Against All Defendants)

68. Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

69. The Defendants’ tortious or wrongful acts or omissions have caused sulfide gas
and/or other chemical leaching into Plaintiffs’ and Class Members’ homes which has
unreasonably interfered, and continues to interfere, with the Plaintiffs’ and Class Members’ use
and enjoyment of their properties and caused them harm and damage as discussed herein.

70. Defendants’ interference has impaired the rights of Plaintiffs’ and Class

Members’ health, comfort, safety, free use of their property, and/or peaceful enjoyment of their

property.

13

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 18 of 50

Case 2:09-cv-00202-MSD-TEM Document 3 Filed 05/26/2009 Page 14 of 19

71. Defendants’ invasions were intentional and unreasonable, and/or unintentional but
otherwise negligent or reckless.

72. The interference with Plaintiffs’ and Class Members’ use of their property caused
by Defendants is substantial and is ongoing.

73, Defendants’ private nuisance was the direct, proximate, and foreseeable cause of
Plaintiffs and Plaintiffs Class Members’ damages, injuries, harm, loss, and increased risk of
harm, which they suffered and will continue to suffer.

74, Asa direct and proximate cause of Defendants’ creation of a private nuisance,
Plaintiffs and Class Members have incurred harm and damages and/or personal injuries as

described herein.

COUNT VI
UNJUST ENRICHMENT
(All Defendants)

75, Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

716. Defendants received money as a result of Plaintiffs’ and Class Members’
purchases of Defendants’ defective drywall, or purchases of homes containing this drywall,
either directly or through an agent, and Defendants wrongfully accepted and retained these
benefits to the detriment of Plaintiffs and Class Members.

77, Defendants’ acceptance and retention of these benefits under the circumstances
make it inequitable and unjust for Defendants to retain the benefit without payment of the value
to the Plaintiffs and the Class.

78. Defendants, by the deliberate and tortious conduct complained of herein, have

been unjustly enriched in a manner which warrants restitution.

14

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 19 of 50

Case 2:09-cv-00202-MSD-TEM Document 3° Filed 05/26/2009 Page 15 of 19

COUNT VII
VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
(All Defendants)

79. Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

80. This is an action for relief under Virginia Code § 59.1-196, ef seq., pursuant to the
Virginia Consumer Protection Act.

81, Virginia Code § 59,1-198 defines a “Consumer transaction” as “[ t Jhe
advertisement, sale, lease, license or offering for sale, lease or license of goods or services to be
used primarily for personal, family or household purposes.” Furthermore, “Goods” means “all
real, personal or mixed property, tangible or intangible.”

89. Defendants’ sales of defective drywall to the Plaintiffs and Class Members, either
directly or through agents, constitute transactions by a supplier under the Virginia Consumer
Protection Act.

83. Virginia Code § 59.1-200.A. provides that: “[tJhe following fraudulent acts or
practices committed by a supplier in connection with a consumer transaction are hereby declared
unlawful”:

a. Misrepresenting the source... of goods or services;

b. Misrepresenting the affiliation, connection or association of the supplier,
or of the goods or services, with another;

C Misrepresenting geographic origin in connection with goods or services;

d. Misrepresenting that goods or services have certain quantities,
characteristics, ingredients, uses or benefits;

e. Misrepresenting that goods or services are of a particular standard, quality,

grade, style or model.

15

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 20 of 50

Case 2:09-cv-00202-MSD-TEM Document 3° Filed 05/26/2009 Page 16 of 19

84. The Defendants’ acts and omissions as well as their failure to use reasonable care
in this matter as alleged in this Complaint, including, but not limited to, the knowing
misrepresentation or failure to disclose the source, affiliation, origin, characteristics, ingredients,
standards and quality of the defective drywall constitute violation of the aforementioned
provisions of the Virginia Consumer Protection Act.

85. Plaintiffs and Class Members have suffered actual damage as a result of the
Defendants’ violations of the aforementioned provisions of the Virginia consumer Protection Act
for which they are entitled to relief under Virginia Code § 59.1,204,205,206 and/or 207,

86. Asa direct and proximate cause of Defendant’s violations of the Virginia
Consumer Protection Act, Plaintiffs and Class Members have incurred harm and damages as

described herein.
COUNT VII
EQUITABLE AND INJUNCTIVE RELIEF AND MEDICAL MONITORING
(All Defendants)

87. Plaintiffs adopt and restate the preceding paragraphs as if fully set forth herein.

88. _ Plaintiffs and the Class are without adequate remedy at law, rendering injunctive
and other equitable relief appropriate.

89. Plaintiffs and the Class will suffer irreparable harm if the Court does not render
the injunctive relief and medical monitoring relief set forth herein, and if defendants are not
ordered to recall, buy back, rescind, and/or repair the Plaintiffs and members of the class’ homes.

90. Plaintiffs, on behalf of themselves and all others similarly situated, demand
injunctive and equitable relief and further, that defendants be ordered to: (1) to buy back or

rescind the contracts for Plaintiffs’ and Class Members’ homes, or in the alternative, remedy,

repair and/or replace the drywall in the homes upon proof by the defendants of the feasibility of

16

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 21 of 50

Case 2:09-cv-00202-MSD-TEM Document 3' Filed 05/26/2009 Page 17 of 19

such remedy or repair; (2) cease and desist from misrepresenting to the Class and the general
public that there is no defect in, or danger associated with, the drywall; (3) institute, at their own
cost, a public awareness campaign to alert the Class and general public of the defect and dangers
associated with the drywall; and (4) create, fund, and support a medical monitoring program
consistent with the requirements of Virginia law.

91. Until Defendants’ defective drywall has been removed, Defendants should
provide continued environmental and air monitoring in Plaintiffs and Class Members’ homes.

92. Plaintiffs and Class Members have been exposed to greater than normal
background levels of sulfides and other hazardous chemicals as a result of exposures to
Defendants’ defective and unfit drywall and have suffered personal injuries as a result.

93. The sulfides and other noxious gases which have been released from Defendants
drywall and to which Plaintiffs and Class Members have been exposed are proven hazardous,
dangerous, or toxic substances.

94, Plaintiffs’ and Class Members’ exposures were caused by the Defendant’s
negligent or otherwise tortious conduct.

95. Plaintiffs’ and Class Members’ exposure may lead to serious health problems,
diseases, and medical conditions that may be prevented by timely medical diagnosis and
treatment.

96. | The method and means for diagnosing the Plaintiffs” and Class Members’
potential medical problems are well accepted in the medical and scientific community and will
be of great benefit to the Plaintiffs and Class Members by preventing or minimizing health

problems that they may encounter as a result of the defective and unfit drywall.

17°

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 22 of 50

Case 2:09-cv-00202-MSD-TEM Docunient3’ Filed 05/26/2009 Page 18 of 19

97. As a proximate result of their exposure to sulfide and other noxious gases from
Defendants’ defective and unfit drywall, Plaintiffs and Class Members have developed a
significantly increased risk of contracting a serious latent disease,

98. Monitoring procedures exist that make the early detection of any latent disease
possible that are different from those normally recommended in the absence of the exposure.

99, The prescribed monitoring regime is reasonably necessary according to

contemporary scientific principles.

DEMAND FOR JURY TRIAL

Plaintiffs individually and on behalf of the Class Members, hereby demand a trial by jury

as to all issues so triable as a matter of right.

PRAYER FOR RELIEF

WHEREFORE Plaintiffs, on behalf of themselves and all others similarly situated demand:
a. an order certifying the case as a class action;
b. an order appointing Plaintiffs as the Class Representatives of the Class;
c, an order appointing undersigned counsel and their firms as counsel for the Class;
d. compensatory, statutory, and/or punitive damages;
e. pre and post-judgment interest as allowed by law;

f. injunctive relief;

g. an award of attorneys’ fees as allowed by law;

18

Case 2:09-md
:09-md-02047-EEF-M
-MBN_ Do
Case 9.09-ev-00202-MSD-TEM Document gum Bled %/26/2062! 1 Fags? B18. 33
of 50

h, an award of taxable costs; and

;. any and all such further relief as this Court deems just and proper.

pate: _* -2@ OA

Michael D. Hausfeld
Richard S. Lewis
James J. Pizzirusso

Suite 650

Fax: (202) 540-7201
Co-counsel for Plaintiffs

Robert Gary
Gary, Naegele & Theado, LLC
446 Broadway

Fax: (440) 244-3462 .
Co-counsel for Plaintiffs

Crown Center, Suite 310
580 East Main Street
VA 93510-2322
57) 233-0009
Fax: (757) 233-0455
Counsel for Plaintiffs

Armold Levin
Fred S. Longet
Daniel Levin
Levin, Fishbein,
510 Walnut Street

Suite 500

Philadelphia, PA 19106
Phone: (215) 592-1500
Fax: (215) 592-4663
Co-counsel for Plaintiffs

Richard W. Stimson
Attorney at Law

920 Waters Reach Court
Alpharetta, Georgia 30022
Phone: 914-914-6128.
Co-counsel for Plaintiffs

19

Sedran & Berman

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 24 of 50

APS International Plaza - 7800 Glenroy Road
Minneapolis, Minnesota 55439-3122

PHONE: (952) 831-7776

FAX: (952) 831-8150

TOLL FREE: (800) 328-7171

Monday, September 14, 2009

LEVIN, FISHBEIN, ET AL
Mr. Daniel C. Levin

510 Walnut St., Ste. 500
Philadelphia, PA 19106-3697

ENCLOSED IS THE RESPONSE TO YOUR REQUEST IN THIS MATTER.
This does need to be filed with the court.

APS File #: 255001-0001
Your Ref #:

Case Name: Germano v Taishan Gypsum Co. Ltd.

Defendant: Taishan Gypsum Co. Ltd. formerly known as
Country: China
Person Served: Zhang Wen Jun

Title of Person Served (if applicable): Staff

Date Completed: August 3, 2009

MOTION TO QUASHIDISMISS: Although rare, should you receive a Motion or if defense
counsel raises allegations of insufficient process, please notify APS as soon as possible,
so that our Legal Department can assist you in preparing a response to the Motion.

We have enjoyed this opportunity to work with you and remain ready to further assist you with
service of process or discovery both domestically and abroad.

Thank you for using APS International and the Civil Action Group!
Sincerely,

www.CivilActionGroup.com

soahCovb -- Ext: 338
Email: _JCobb@CivilActionGroup.com

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 25 of 50

Law Association No, FX-09-1211
Judicial Association No. SX-09-1195

SHANDONG PROVINCE TAI AN CITY
INTERMEIDATE PEOPLE’S COURT
PROOF OF SERVICE
[Seal: Shandong Province Tai An City Intermediate People’s Court]

(For cases of all categories)

Cause of Entrusted process service (2009) Shangdong Superior
Action Cause No. | Court/Judicial Assistance No. 50
Document Served U.S. District Court for the Eastern District of Virginia, Norfolk Division
and Number Civil action proceeding materials
Recipient (Unit) Taishan Gypsum Co., Ltd.
Address for Service This Court
Recipient Zhang, Wen Jun (staff of the Company)
Signature or Seal
August 3, 2009
Recipient in
substitution and
reason(s) Date
Notes
Issuer: Server: Yi, Lei
Note:

(1) The service of documents in criminal actions is executed pursuant to Criminal Proceeding
Code §57; the service of documents in civil actions and administrative documents is executed in
accordance with Civil Proceeding Code §78 and §79.

(2) In case of receipt by substitution, the substitute recipient should sign, seal and note his/her
relationship with the targeted receiver and the reason(s) for substitution.
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 26 of 50

Shandong Province Superior People’s Court

Shandong Superior Court
Law Association No. (2009) 50

Foreign Affairs Bureau, Supreme People’s Court:

Regarding request made by the Supreme People’s Court’s Law Association No.

[2009] 1211 document to serve legal documents to Taishan Gypsum Co., Ltd.

as entrusted by the United States , this is to inform you that the

Shandong Province Tai An City Intermediate People’s Court has executed the service of

the legal documents to the parties concerned.

Foreign Affairs Office
Shandong Province Superior People’s Court

August 10, 2009

[Seal]

Shandong Province Superior People’s Court
Foreign Affairs Office
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 27 of 50

Case Name: Germano v. Taishan Gypsum Co. Ltd.
Defendant: Taishan Gypsum Co. Ltd. formerly known as Shandong Taihe Dongxin Co., Ltd.
Court Case No.: 2:09-cv-202

CERTIFICATE
ATTESTATION

The undersigned authority has the honour to certify, in conformity with article 6 of the Convention,
L'autorité soussignée a U'honneur d'attester conformément a Varticle 6 de ladite Convention,

1) _ that the document has been served*
I. que la demande a été exécutée

- the (dat
the Caste) hag 2, duo

- at (place, street, nugdber) . ! . .
- & (localité, rue numéro) ‘ ¢ Deng pra (Z.

-in me the following methods authorised by article 5-

- dans fine des formes suivantes prévues a Varticle 5:
] (a) in accordance with the provisions of sub-paragraph (a) of the first paragraph of article 5 of the Convention*, -
a) _ selon les formes légales (article 5, alinéa premier, letire a).
{ ] (b) Im accordance with the following particular method*:
b) _ selon la forme particuliére suivante:

[ ] © _ by delivery to the addressee, who accepted it voluntarily.*
¢) par remise simple

The documents referred to in the request have been delivered to:
Les documents mentionnés dans la demande ont été remis a:

- (identity and description of person) *, Lf) .
- (identité et qualité de la personne) te Lh ; C Zharg. [bla Sun)

- relationship to the addressee (family, business or other):
« liens de parenté, de subordination o autres, avec,Je destinataire de lacte:

EA AM,

2) that the document has not been served, by reason of the following facts*:
2. que la demande n'a pas été exécutée, en raison des faits suivants:

In conformity with the second paragraph of article 12 of the Convention, the applicant is requested to pay or reimburse the expenses detailed in the attached
statement*, :

Conformément a l'article 12, alinéa 2, de ladite Convention, le requérant est prié de payer ou de rembourser les frais dont le détail figure au mémoire ci-joint.

LIST OF DOCUMENTS: Summary of the Document to be Served, First Amended Complaint, Summons in a Civil Action, Notice, Procedure for Civil Motions, Translations

Annexes
Annexes
Documents returned:
Piéces renvoyées:
Done at “2, 7
Fait & My RE -\ F tej /
In appropriate cases, documents establishing the service: YQ Yj Sf * . NU?
Le cas échéant, les documents justificatifs de l'exécution: Signature and/or Stamp. Al FE a
Cn AUR a TUES) Signature et/ou caghet. \ yn,
i] 0: Wp BAe AA
* Delete if inappropriate. 2

Rayer les mentions inutiles.
Case 2:09-md-02047-EEF- MA RL _ dooillmesg 94-5 Filed 1d/d9 Page 28 of 50

SX- vf 98

Ak

8 A

Rk a Ato z. 5 Coe) Ha te pe

meses | | EMR reh A BAR EA 54 ig

| BRA | iB Pah malt “é.

waar | Roiied Laer mhed

EIA Mik pe

BENE) RSA GURARD pte Bo
aie | a

RUA BR OF 5
ARCH EH
%

BR A, BBA AS

TE : OHIAM BVA TH, se IER Tt CARB Ips BUS RAE
AT BOR B ARERR AVERT) TIRED
TE
“ORBGRIBSCBNN, EARL A SE Be i BE CEH SSE AIK
RERBGE
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 29 of 50

Ul 26 Ay 1 BNA ik be

4 th (2009) 50 &

RBA RISERS:
3 BLK wh [2009] 1211 FA F_AB if Kal
ALAHARMRY AIRA a
PIAREXS—-E, WER WRSRRHHERBAREL
KRREXBRRAKY EAE
RARBG, MRR BIEN / eI
Hl, Wak.

Case 2:09-md-02047-EEF-MBN Document,464-5 Filed 11/18/09 Page 30 of 50

A0440 (20084 4 AIT) AMER

att

KORA SR
HACUNARRSR
WE RAB

MICHELLE GERMANO (KRK/K * ASU) 5
DENNIS JACKSON (A}JESF * AER) .
SHARON JACKSON (3640 » ASTCRE)
JASON DUNAWAY (f84#8 * AZAR 5

LISA DUNAWAY (iw » iAABO

DIPAZ SIERRA

Pra ihA

BS
VF

TAISHAN GYPSUM CO., LTD. (28 HAHA
HEAR OY RA *) 344 SHANDONG TAIHE
DONGXIN CO.,LTD. (URRAARPH RAR
i$8]) , TOBIN TRADING INC. (TOBIN RS
#71825] . VENTURE SUPPLY INC.
CVENTURE #4 ER 5] ) . HARBOR
WALK DEVELOPMENT, LLC (8A RAE
FRA RHE AA) WAR THE PORTER-
BLAINE CORP. (34% — 4738 VA MR dD

BS

HE, AIHHHAMSRURIME, PIHRARKES, TH

Ree

IAF: CAE Seba)

Taishan Gypsum Co., Ltd.

f/k/a Shandong Taihe Dongxin Co., Ltd.
Dawenkou, Taian

Shandong, China 271026

KUARMA PREY A RZ Al
fs Fs) Ly A Bs 2 TH
ARK ARC A/a 271026

EE VERSES 2:09-cv-202
(BIEVER)
Case 2:09-md-02047-EEF-MBN Document 464-5 ‘ Filed 11/18/09 Page 31 of 50

PERE.

RIERIGR BIHAN 12, RAYA AROS TY 20K (DEK
BAM) A, KRM AERL ATI OVERRATED I TI
SISIAF RS NB, BA MME:

Richard Serpe ##)ifi

Law Offices of Richard J. Serpe
HARE WAGSS HN

580 East Main Street, Suite 310
Norfolk, VA 23510-2322
5b BINA

FEB 580 5 310 B

HBS 23510

MARAE, REEMA MVRORR, BOUT UPR PRE IH OA
Fre (EUAN He SRN BI PIA

Fermando Galindo

Aes: 2009476 11H [EF]
L. Woodcock Bl -Fid BEF

RB RAGE 12(0)()& MREARALEALTO, RABE ABE
AIUEBA 60 Ke ) .
Case 2:09-md-02047-EEF-MBN Document 464-5° Filed 11/18/09 Page 32 of 50

Se PR FB Hh I SB

PS EMAAR BE
600 GRANBY STREET
NORFOLK, VIRGINIA 23510-1915

HH CLNGR RH
+h Ib 600 3 /AB 4A 23510-1915

Be ARF Sth REI
MARK §S. DAVIS KBDRS

RERUARE
ACS EL BI URIS Se UBB Hh BEBE Mak 8, Davis 388 «

EMA MUU 7, ABN (REEMA AE) URNA —-OR IR. BRE
KIC: CAIEWINE) HOT 50, ARAMA RNP RES.

ERS RP REZ, BA CET OSCR P) DUG EE
PERM, WMATA ES TE OBR” FESS eBid
EPLS. HRBRAMANNE, ILA MUS 26%. RAR RIAA AAI
A, WR ABRE MSM AEA BE RAV TE

BHO ERLE SR OSES “CEN” NAT FUR ARABIA DAS On
FR Davis Gi PRR AW EVE OSPR, UT CBA By ER AE, HF
ine AAA TH.

MATER, SVUES Bee Davis 1k «
Case 2:09-md-02047-EEF-MBN Document 464-5' Filed 11/18/09 Page 33 of 50

ABRAM RB
RE EWN RSS

i xl
FE Jabs Ha YO Reve BH Bk

PERM LAVAS 73 SMBS 23 BF 0360), HAWENA SSA RA
ph Se REPRE GRE HER PF SRILA He MAGA BET
THEMAERER IDET HEE, DAABAAPASZER-HABRR. BARBRA
DARA ASE th AY AZ} BE. REA AT ASS RRM CON BP) ETE YY
K, HTMAPARPASRM. FKECAAPSS MHRA.

Set 5 aS OP

ARTE MTT UU 7.1 HR,“ SNARE I-AA FEB A

Sth. AHAUS RIK GRU” , DAR —-HU SRR AR. ARABIC
—RAAHM MEA CERMAK. SHR, ERB. OU. FARRAR
Ho.” AS All BSE IR Fs Be AY ASS RAH RE CON BTA) EATEN PR, WATT
PEDABRM. FRACARWSANMEAHMM. RABAT MUS 7.1 RBS

ARREARS ARB ERA RA PRONG

Pah 5B id BDA Se

25 FEE LEB ABE ELAN FRAP AU ULI wowrw.vaed.uscourts.gov » MRERIEAT Pee
SEAL, WES FAURE IMA Bz — BR URC LERH:

Albert V. Bryan United States Courthouse
Rid AR AB A US Se YA eR

401 Courthouse Square

Alexandria, VA 22314

A AWN WAAR
YEERET IH 401 S/H 4G 22314
Hig: (703) 299-2101

Spottswood W. Robinson III and
RRP RRL SP See a
BRAN TE eRe

Robert R. Merhige, Jr., Federal Courthouse
701 East Broad Street

_ Richmond,-VA 23219

See A Ba

HA ay AR 701 S/R 4H 23219

Fis: (804) 916-2220

Walter E. Hoffman United States Courthouse
RRGER SER

600 Granby Street

Norfolk, VA 23510

aA JB WN eae oe

- REALL BT 600 5 /HB 48 23510

Huis: (757) 222-7201

United States Courthouse
5 BNE eee

2400 West Avenue
Newport News, VA 23607
8 eB I a
FB 2400 -S/iR4a 23607
Hui: (757) 247-0784
Case 2:09-md-02047-EEF-MBN Document 464-5 ‘Filed 11/18/09 Page 34 of 50

"ge. 9:09-cy-00202-MSD-TEM ‘3 -5x¢+ SBSH 2000455268 BIRKIN

Fe A BE
Fe ED NAR BS

MICHELLE GERMANO (KEKAK * BA) .
DENNIS JACKSON (FEET + ATER) .
SHARON JACKSON (3646 +» 7R7E#E)
JASON DUNAWAY (f##% ° JAZ) .
LISA DUNAWAY (fiv¥5 + 3AZN BK)

IPA SOFFIT
Pra A
Rei
VF - REVRUAS S 2:09-cv-202

TAISHAN GYPSUM CO., LTD. (WAH A
ERURAAIRAS]*) M4 SHANDONG TAIHE
DONGXIN CO., LTD. (UARRM RAR A
44] ) . TOBIN TRADING INC. (TOBIN R34
42485] . VENTURE SUPPLY INC.
(VENTURE £14 fk] ) . HARBOR
WALK DEVELOPMENT, LLC (8H 2718
FRA REA A) UR THE PORTER-
BLAINE CORP. (i24% — 7938 /B-4 IR Fl

Ka
/

+E: ANGMAR ZRURKAE, FREAKS, TA.

i —1F ERIE

ERA RA AVUUR 23 &, REAM BAP eR, BIER
EIN PYRE HO AS PLA ABI, ES NP
122 J rhe Taishan Gypsem Co., Ltd. (LAMA MRO LA) 4% Shandong
Taihe Dongxin, Co.,Ltd, (UREA A RAR) CRAB “Taishan CHEZ
Hl) ” ) \ Tobin Trading Inc. (FR “Tobin A #]” ) #1/8% Venture Supply Inc. (FA
“Venture AI”) Bot. AEP. HCL, HEEL. 44H, JSR GE. RL, a. Hi
/ SIE. REALISE ATRIA, LATS EIN AT RA
Case 2:09-md-02047-EEF-MBN Document 464-5 : Filed 11/18/09 Page 35 of 50

' 2-2. 9.09-cy-00202-MSD-TEM 352+ BSH 2009%5H260H A2HH17H

Harbor Walk Development, LLC CRO BCE KA IRGEZA B]) Fil / Be The Porter-Blaine
Corp. BUF — AR MASA] ) EARTH ESHA BR. A
SPER E HRD BEES:

ARGH, MBANP RIA

1. PRABSE AUIS 28 RE 1332( (2) AAT EER, AVF AS
CRN APES A. RSME SETAMMAR, MARRAVHAN Since Ml
HIT 500 FFZSTL ($5,000,000) , AAAS MVRAT.

2, HFRS EEA SRE A Ba EEA A
A, APRA RAIA BSE R EEA RAH, TPES ASUS 28 HESS 1391(b)
(1)-(2)%%, HHA RERE RA A WERE HER
ROS

3. J Michelle Germano OKA + AE) BRAEMAR, E8171
North View Blvd, Norfolk, Virginia, 23518 (Obi JB IAT HA 30 TH AG BOL Er 8171 S/S
23518) WA-MES.

4, EAR, Germano (AS) KNEES HRA Harbor Walk (
CIF Bl] ) Fl / BR The Porter-Blaine Corp. CBRFATSEIA AF) EI A/T
RN, BEBAS MRE THE HS Taishan (45H) . Tobin 27] #il/ak Venture
AMR. 4. WO. REO. 44, i23e. GEM. te, BA AY

5. JR Dennis (F} Jest) # Sharon Jackson (Y(E * AHA) RGRBAEL
JNA ER, 2 8151 North View Blvd, Norfolk, Virginia, 23518 (384 JBN vate 5c TH At wet

SF 8151 S/d 23518) FIA —PTES.
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 36 of 50
_ 35 2:09-cv-00202-MSD-TEM 3S = BR 20094 5 HF 26 H A3WHITN

6. FEVER, Jackson (ASTER) RAVES HH Harbor Walk COB
HIER) Al / Be The Porter-Blaine Corp. (BATRA AD BA MART KA,
AE LS GRIER: HS Taishan (4888) . Tobin 4) A1/Ek Venture Am
ih. ZEPS. HL. HEC. 2S, Jae, GAM, A, BAR

7. JA Jason (f$#R) Al Lisa Dunaway (INU « AAR) RRA Ae Ne
Et, 7 27037 Flaggy Run Rd., Courtland, Virginia, 23837 CH BINS Th ate ae
Be 27037 8 / WS 23837) HA MEE

8. . AGEYORLTE, Dunaway CAM) ARENA ONES, Bese
4 HRS Taishan Chea) , Tobin 28] Al/ak Venture AA Rit. EP. HW. REA,
54. 3 E. GEIL. RR PRAIA RAT GRIT AL

eH

9. we Taishan (RUA) R-HERARWNAS LBA, Re
#& \4th AZ Dawenkou, Daiyue District, Ta’an City, Shandong Province, China 271026 ¢*F Fil
Ls AR AE Ee TH AK ADC BB Aa 271026)

10. + Taishan (AEWA) Wt, AEP. HH, MB, Si, GEM, eR.
EFAS ES PT SLL

11.  #8HEBORHTE, Taishan (2812 %]) 22:4 Beijing New Building Materials
Public Limited Co. AHI ROAM RAGA RAR) DHE, MBAR MERE, A
i ap Fe Be PTD a A

12, SF Taishan (ASL) BAUPRAD BLO, DR EMACHRSS NAILS 28 HE
$8 1605(a)(2) 48 Sb LSE ALES PEAY SPT SBN, BOARS ISS 1605(a)(5) 7 BISA TT
yt Taishan (HELA A) SREY. PSU, BRIUUEVAROALIRE Taishan (aU)
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 37 of 50

32-3 2:09-cv-00202-MSD-TEM 3-33 3ibBSH 200945H 26H WAM HTH

A) PRART NWI. KRABI) BE BEA Pr Ra ee
SRRBRE, RPRBE HARA SNE ABE AER EE AY
LEA RAMEN PTF BL

13. Tobin AA B—-RAABUMNAA, ERB MH ATE 5008 Gatehouse
Way, Virginia Beach, Virginia, 23455 (FRE Je ULI Fe JB RR TH ct TS 5008 S/H Sia
23455) »

14. RA Tobin AAIHEA. 24H. 2k. GE, BA / MAS
APART aK

15, . 4% Venture AAR BLN AA, SRM RAGE 1140 Azalia
Garden Road, Norfolk, Virginia, 23502 (#879 JB IN Ea oe TH ALS Ee Be 1140 S/R a
23502) .

16, Venture AATBEC. SHH. BSE. GEA. HD. PENA / BRIEF Anta HH
HABA 5 GEV aS IAS IR ORL TEA ESA SH Ae aa
Venture AAJICHEO, 45. 1228, HM, A, BH / MARTE SR
Sr AUAVRARLA

17. RA Harbor Walk CEARPWHRAA) BRAEMAR, MAE
804 Oakmears Crescent, Suite 101, Virginia Beach, Virginia, 23462 (382 JEL JM 3 #5 JB EYEE
ARERR MTB 101 SBM 23462) 6

18. Harbor Walk QB AAA RAR) Be T EIR SAAR EE
se Beit OIA SPS De EBC FO 5} SEE A on E PI
ARATE.
Case 2:09-md-02047-EEF-MBN Document 464-5 ‘Filed 11/18/09 Page 38 of 50

'

32-2 2:09-cv-00202-MSD-TEM ‘3334  Sik@s8 2009475 4 268 5 WH 17K

19. 3k Porter-Blaine (WHF-AHREAA) RHP AEWM AA, WATE
1140 Azalea Garden Rd, Norfok, Virginia, 23502 (3622 WH MH44B 3e Th HL BS 42 ba BR 1140 5/
iis) 23502) «

20.  Porter-Blaine (HF —-AHBAA) 5 Venture AAS — Mba,
Venture A] FRR AS —. UE ARTE, Porter-Blaine CRA ARB A
Al) ZE Harbor Walk GORGE) MAEBMR ERE FRR, SRIRAM
Se AON EPR AAAS

21.  PEAVRIRGR RAO AA, Sea PE AAT AT A Be ATT
RSA AVAR AN NSH), SAU AMER ELA. BRS
hy Stk As UERIULA, RVOURAS HR, TERPS AUBIN PERCE LURE I
BH. Qik, HRA /RSBNRBMUMAAARATS, AHMAR EN
PhAST

— ORS IR

22, HERR, REM TMREAA EB.

23,  ZEAREBLEMIT. EP. HQ. RE, A, JR, GR, a,
BY. HAL / BREEN “GUC oP, BAP ORE SRR
SUSAR, BUATREAUASUA FCP

24, BCE FACT I EAA A SU TEIN A
COV. KES, BL, RR, A RAT RAC S
AUD) »

25. PARENT NERS SAS ee, OU
IRS. WRB PRIM, Hoty, BE. OPE. ARPA / BUA
Case 2:09-md-02047-EEF-MBN Document 464-5' Filed 11/18/09 Page 39 of 50

82-2 2:09-cv-00202-MSD-TEM 483 S3¢(# BBS 200945526H Bom H1I7W

26. EREASHITEDVAUTS HEI, DRAUSS BA I
3 BRB Fie BF UNREST PEE OR
ABUL, BBA BN

07, MeASSEMEWAE R=. HL, BEDI. SMB GBR GUN, a, See, BH,
HARA / BREOREGIE EMAL, ROMER ANE A HOU RRS HEE OS
PAS PR Wee, EL ESF SAAR Sa SBI LD USS A VR A ERA
Ye, Fl / SRSLRELA. WORAIBCO, HR. REE. PPAR, ARR MUR / BU

28, ATRESIA TLL A
SUK RIA R, RE IIUA TRA RLA BSE EH ARRAS RA / AS
ti.

20, ET-REAS AOS GEIS AURIS AUPE DIS AEH ALE
SUKI IAT, SURI Sa, LE
A UREROUL EFT, MOREAU. MERE SUS FAM A RC A A
Bay AAT Se UGE MO VELL BREA, SER ARAN Se UN AD / BLAS
TEE RUA

40. HSE Bes A RE AIIM -F SNA DL AA PRM AL DOE st
SUMMRANAREM, RGBRREMELWARAS YH, REA, BOT
WOMANS, UGB eB SIL, RA / HERS.
SSe RAWAL / BREE US A AE BO

MK ASO

Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 40 of 50

eB 2-09-cv-00202-MSD-TEM ‘33-53 Biee38 2009 #52 BS7WHITH

31. HEGEL SVAN 23(a). (b)(1)>. (b)(2)>._(0)3) RAH / BR 23(c)(4)
Ag, APARSE AAT LAL FIVER AAD SE BR PLAABUAVEA, SEAMS AVA
AGA BY 28 ade:
BRVRUS TE Ms
fede AWN PNR Taishan Gypsum Co., Ltd, (Ets TH 7 LBL OO AR
AS8]) . Tobin Trading Inc. (Tobin % HAMRA Al) Fi Venture Supply Inc.

CVenture HERVE) AER. HI SAT / Bae HE AN BOR aR BE
SM HAPMAP 0

Harbor Walk/Porter-Blaine 738 (42 Xi:
Ze #8 BW INA Harbor Walk Development LLC (#81 BOPIEF RA IR
PEEL ISE]) #1 / Bk Porter-Blaine Corp. (BR}— ASEH ILA) REEAT /
Si Be SF SARL ESE ATLA IEE «
30, “KRU ARREERIRZEVRAAMAZ Ob: (1) BALAI AA. ALA
Pe AULA, (2) JERDESULERRTESLILUNMIUEZ SMO As G) BUILD:
D) Fe (4) MEERURSE SEAS AOD A AE A RIERA
53, ARIE ERIE, UGS HATO IAI 7R RG A EB AE
Dye} eeseett lke JRUASRORISECHARSCA, DUCTAL VEU SRR EL IS PR
SRLS
34, VeSeSEUAY DACA CS UL OUD RN EI
cage AAS LT
a BRAS ERR AUNARS A EA HSE HE BA
ie ANNE LI:
bea WO. HEL, GMB. BR, EM, Rm, Se,
bY MYER / RREOORIG FAR LE EA AL,
oP UAC E UREA JA LPS URE ABEL AT 0 TSA

ERA BEME RS, TERESA BEI. TP [ed Se tia SM ee
Case 2:09-md-02047-EEF-MBN Document 464-5 ' Filed 11/18/09 Page 41 of 50

| #22 2:09-cv-00202-MSD-TEM $3 33¢¢ SBSH 200945H 26H WSMF1ITK

HERBS, WE
dT AUSR RU RAS A WALT DTT
Yeah + A/S ROR
35, ASRS ERER RATA R AER WA. RM
(SRA RR Ze SL RAANOT HA ELA
36, REREAD BATE MAE
ASA RAR LEM, REAR ALM, EAI
BAPE AE ASS ALT ERE
37, FRARSEVRVAGRARINE EYRE, AT HRS TE SR
WASEAIOAL2E. REPRISES LU RRR, MATRA PRET UREA
38, “FTES HUT REAR ACURA, ACARI DL Bh BA WAM
UT BABE MERE . ATTRA TE AE SRP VA ARE
39, RRA Ee I-A RUS SEE FT DAS RA US 23(0)(1) RPV
BRVAHY, TELM aN BUSS VEV RABBIS UA RUA wR OO ONT al
SAYER NOTRE REGAIN MSR BO EA EA
pA AERA RE SEP NSA BARTER A ABEL
ABER NUVI, BAAS A AUINMMLATREP B AVAL HOM»
40, BER CEA SE ATI AALS HR AT IR BREA LIU 23 (0)(2)
JF DAA « BREPRUTE DW BEA (EN ORR SRA, SERRE RIA
Sha MEDAN 4 SEEN
A, AAA ARAM EWA. SUTRA WANE
“BRI, RDUALALE RS TAR MARUATTON EUR ER. EIR AAR PE TAR
Case 2:09-md-02047-EEF-MBN Document.464-5 Filed 11/18/09 Page 42 of 50

"32-2 9:09-cv-00202-MSD-TEM ‘3 83¢¢ SSH 2000%5A 26H RWOMFEITH

SOAR, MAIR AUR, SERVO SE ATA RR RE ART RR
SOWA. RAVAN SERS BAR, UPAR

42, SAAR AVAER PRENSA (AREHERR) MANURE
ERC VRUANUUSS 23((AAR PUPA RD, Hee RSE Rink ee DETAR
Fi ELSULRESR Ob EVAR Kae LCE) Uh HL SE A RA ORI

FAZ—
WK
( FMARE )

3. KERNEN, LAB ERD.

44. BRADNER RURAL RHEE, UAE a) BEIT b) AEP c) WIT d) MED
o) SyH4 £) 3BR% g) GE h) HOME 1) BPA j) HY BEAVER ly SERRA PMI A Ni
L, LGRRR AE AB)_LIR SOT EH

AS. MCSE UAERL DARURL, LATTER Dh UB YE Se PBA YAR De
A

46. BERR TEBE. AEP. MI. BED. J}HS. GR. Ot,
Ph M/S ROBES SIF LA) LE

41. ORACLE UII, ART A
PRAHA SG ERP PAT Be A
ewe AE RUSE RUS BL WOES A PTI LHS BL

48. RANT MAR AUORIG, MA AIM LAA, AMLANT P= AT ANG Se
SR RAMIARUAR AND, RAUL AS HR.
Case 2:09-md-02047-EEF-MBN Document 464-5 | Filed 11/18/09 Page 43 of 50

32-2 2:09-cv-00202-MSD-TEM 3-32 ise 2009 4F 5 A 26 BH 810m 17
KR

49. TRAE RAEN PDE RGR, DRE SAVE Se
RMA. WEAMRMASHAS

( FRPP )

50.  RESRAIFE LABOR A, IANA.

51. BEDE ASCAVRUA RA AE SS, BVZE a) BEIT b) EP c) HIF d)
JHE 1 ©) 3-44 £) BBE gw) GRAM n) ADMD) BAB j) HAAR Ke) SEAR PAIL IF BH
LTE

52, MER R TMS ARAVA RAIDEN, RABAE a) HUT b) AEP 0)
HH El d) 2B ©) SY49 £) FERS gy GEA hy ADMD i) BPH jy HL AN/AR k) BEARER HAR A es
AVA A VO

53, RAC HHA DRL SA BIRTEARAAIL A IED ECE HY A A TTT
Bu ARAL IR XS «BSL AN  R T PS
RVI ASAE LES A ATR BL

54, FRAO E RRA, BARRE ALANA, ALANA AT RAN Se
SRE ATIAT HAR ARR, EAU AS HH

$5, ATS RAINIER RR, ICTR Mee
LAER, BAUR A SR

AZ

HE AD ARAL SRRR AB AY PRUE
(RARE )

56. ASRARHLABRHAR, KPH BRDR.

10
Case 2:09-md-02047-EEF-MBN Document 464-5, Filed 11/18/09 Page 44 of 50

% 2:09-cv-00202-MSD-TEM 3-320: eH 20094%5H26H WURK17
Ht

57. BEPSAIUBCAUAC TESLA 5 GS UAT DSA IR
AR AERE WT BLEW ERS A.

58, BEAPESOH. UHL. GEN. IR, HV BRRUBREORI A ALT Re OT
WAR AR ETM MONT, BCE AMIESLALICIUL DL, ROACH Ua IUPP NL dee
Ac RUSHES, JRL BIRR AIRIE WO AGES PAA.

50, BEA HRAD TP ORIRIRAY FRE BLS, eer UN SLE
faye HESPERIA F SUA, AML RA AZ

60, BART AAUAT WRIA, BIER HUN TULA CY
EMEDIA SAUER EE ED , BW EO SAVE ETB
HWP

61. - RAR TAGE, BATA, RPA TA
CRRA (EESTI EAE AURA VR EEE

62, RAP AISI PAELLA ER PRES ARR TE RIERA OL
id 4 ASE

63, FREERIDE, SC RAR Le
oh. HARRAH

FAZE
m 4
( (34 Harbor Walk )

64. Re RAE LAREN AR, HILAR BRR.

65. HES RES AI} ORES Harbor Walk CF AE AA)
MEHI EEE AUS VLAD), Harbor Walk C2 CLCEIR A Bl) TIRES ASS eH AT
HEAR IG HR

il
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 45 of 50

323 2:09-cv-00202-MSD-TEM 3 -53¢¢: Bib 20094 5 26H 3812 WHE 17
R

66. Harbor Walk GEO RHAA) SRLMRT ARS MAR AREA
eshte, (RRMA AL APE PAWS, SOS
RiLMMABAE, SALAAM.

67. HERSRRARATERNBRER, RAMA R AVA RAMS T AV
USAR BT DLA Sa Ss GAZ

FAZE
TA, A Fk
(MARE )

68, SRI LRBORIN AA, JIL.

60.‘ WRe VRE EU R7R UR ES SRBC DURE He
FR ESAVARC VR RRENEESEL, SC AEE CIDTSE ARR AUS
(itn, SSIES

10. BATAAN ES RLU, AE.
oi, by FE ALA B= ke HE AA NL LA

1, BWR EHR. HALA AE
RAR INT I «

72, eA OATES BC AMARA RS AA ABS A DB

73, BEERS A FURS 4TH SS HP A
WO. BHR. PEURARMNGHEORNB AA PL RA
74. AFRAID ALATA SRR, RS SAVE Se
TARUPRAT ARE. WARARAR GE
RA2K*

12
Case 2:09-md-02047-EEF-MBN Document 464-5 , Filed 11/18/09 Page 46 of 50

‘ge8 2:09-cv-00202-MSD-TEM ‘3330+ S338 2009475 H 264 13H #17
KH

FAA
( RPE )

1. KeRAEELREEHAA, KKH ERDR.

76. RAP AUSRAR VE VAR Be AT RLS T Bs HR RR
SAAN, BEET RAMA BREA HF 3 ORK eA DA
THM SAA RGR

8, PAAR TRE MME MAMTA ARMA SA, BZ He
AA BA

FAZt
RHA CUNBRERP KR
(FARE )

79, FS RAHEHLAREHAA, MLA BADR.
80. AREER 59,1-196 HR LSE PB I
SRP VEE ERITH
81, ABW NSU 59.1-198 WH “RAE” I ERAT HA,
REMERON. HE. AR, BERR. Ee Li
Wy. "Sb, “RR” ARNE MAREE. ayy RwRa UT.”
82, HGRA WARE RPE, BERIT BB A
‘es uh WE He ABR US RA LAD BC EDM BG EAT A
83. BA ELUDNYRSR AS 59.1-200.A MLE: § “CARL BLA GEM ES Bt HE
Fe PRIBAY FFU IAT WLS AAA”
a. PER IRS RUS,
b. HEME DRS SHAW, SERA:

(13
Case 2:09-md-02047-EEF-MBN Document 464-5, Filed 11/18/09 Page 47 of 50

‘32.2. 9.09-cv-00202-MSD-TEM 383 aye: Biees 2009485 A 268 14 17
RK

c. HERA URS ARBOR
dc. BEALS TRAM, YE, F892. AeaR tia:
e. FH URS AE, JRE. RAN, KARAS
84. ay eo BUR a PL BRAVA HE AR BI FB, a, t8
(AAR AE ARCHER LAR REET OR TAR \NBR. BOR. REE, pea. STE
WR, RoR Lak HB ELIMI A RNA HIE RK o
95. AREA LYRE EEL ANA SE RPA IARC, aR AAR
UST SURAITARE, ABLE IPH BANE SLSS 59.1. 204, 205. 206 FI/BR 207 WW ARAHE
86. HERA I ES PET RNB A SA
URL WZ AYP IT DER ARR

AZ)
SS a al ERIE DR BI
( FARE )

37 RUE LBA, HDR.

a, RAPAUMAVUSRR LE MAN, UA TE FRR
SPATE ANY

06, RIM BTRA LARAMIE MIRC, SRC 7S
ic Ds BETES UR AUR GU WR ER, TS AA HS TS
AMHR

0, RACE AATU Ed EVR GT-ES AS OLA BEC A A BA
ve, ESRALAIS REDE (1) IRAE RA A eR, BRAS
Seu MSMLSRADRUNT TAPERS ANA. (SMERUARILRE PENT SMBL: 2) MELAS

14
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 48 of 50

 ge-3t 2:09-cv-00202-MSD-TEM 3-33 BABASE 200945 H 26 5 is
we

sas IR AS A EARP FARRIS N (3) EY CLA BER BL AT BUR SID
SEAHAM RII RERUN Des DUCA) ARIE PES OB
By ASCE TB

1. BEAR ALACIR AE AUR ORV RMD EST SR ORION EAT UM, BLE
HES ANDI ERARWERI L.

oo, RAP AIIRC HAVA ER RAB 45 WIR AS CTO WE
KEEBPRAERMOMM ERM T, ALTA SHE

oa, SAgeap ROCF RRC ALSR AT ELC LOBE EE HE SI
GDC A BAUER, FeRAM

04, ARRANGE RARE RAAT NOR RATA ES TLR
ZH

os. RG RUACAAV EU RCA EE LR LZ PATE PBT ULE BI HIT
WeALYOITTEMNCADTG MP ARETE, BANDA HHL

oi, RSIMR IRCA AO REA ON  RIEL B A
eRe AGGIES UR UR A RI TBF FST A
SAC -ORREILISL, HT DLAI SK HOI

O71 HERRERA TAS IPL PALL J
sav Vee ALAR TH 3 LEP OE

os, AT RTDLSLIRSRMUA AEN LUNI TT OIE, KAHAN AER
4 RIA TE NL RH

90, HRIRSLAUALEAVRR, (MBL LEH AL

BRAS ARB

15
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 49 of 50

5

322 2:09-cv-00202-MSD-TEM 3-33 Swe 2009%5H 26H 38:16 3617
KH

FID AR MERRIE RIG AT A FE OR BP EL TE
47 HEE
WRB

Pav, SCARE AUR OLR TEA HEL ER
a. RAN ARUN,
b, «FRET A ARR UCREMA ES,
cH FREE AVATAR TN VAT
d. AMBRE, RE AEE RAEI,
c «RAAT AYERS,
f. BR Hl PE BHF
g «RARE REA
h, BLAU VFR; WAR
i, ARWEDRTA Dy SEATS SES RO

ARH: 20094 5 A 26 FL

(a F]

Richard Serpe #)ifi

Law Offices of Richard J. Serpe

BABBLER S AT

iiht: Crown Center, Suite 310
580 East Main Street
Norfolk, VA 23510-2322

5b BW IN ee

RE 5805

Fe RAP 310

HS 4 23510-2322
Hi: (757) 233-0009
##3£; (757) 233-0455
EM

16
Case 2:09-md-02047-EEF-MBN Document 464-5 Filed 11/18/09 Page 50 of 50

" $23 2:09-cv-00202-MSD-TEM $83 -S5c#e

KK

Michael D. Hausfeld
Richard S.Lewis
James J. Pizzirusso
Faris Ghareeb
HAUSFELD LLP

BOTAE IR BA BER HEEB S BT

dhht: 1700 K Street, N.W.
Suite 650
Washington, DC 20006
He RR TUX
K # 1700 4 650 3
Hk 4a 20006

HIG: (202) 540-7200

48H: (212) 540-7201

REDHAT

Robert Gary

Gary, Naegela & Theado, LLC
DNE-AS D-H KS AIR BEA Bl
446 Broadway

Lorain, OH 44052
RABIN SEB TH

Fi 37 HET 446 S/R HH 44052

Huis: (440) 244-4809

483; (440) 244-3462
REWER

BBS 200955269 Wi7W #17

Arnold Levin

Fred 8. Longer

Daniel Levin

Leven, Fishbein, Sedran & Berman

WY SC-AETT WA -F 8 BI-18 RS

kbdt: 510 Walnut Street
Suite 500
Philadelphia, PA 19106
FE EIN Beh
RAR APE 510 3S 500 B
Hh 19106
HUB: (215) 592-1500
4GHL: (215) 592-4663
REDEEM

Richard W. Stimson
VTS BY

920 Waters Reach Court
Alpharetta, Georgia 30022
FFI WEIN By AR Ee IS TH
RAMA BT 920 &

HK 43 30022

Hig: 214-914-6128
EU EAIT

LUE AEA IEXR A.
Fe RF Hh IE BeBe &

a

Al Bid

17
